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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                     *       CRIMINAL NO. 20-cr-00055
                                             *            SECT. F. MAG.4
VERSUS                                       *
                                             *       JUDGE FELDMAN
JASON R. WILLIAMS             (01)           *
NICOLE E. BURDETT             (02)           *       MAGISTRATE JUDGE ROBY


UNITED STATES OF AMERICA                     *       CRIMINAL NO. 20-cr-00139
                                             *            SECT. F. MAG.3
                                             *
VERSUS                                       *       JUDGE FELDMAN
                                             *
NICOLE E. BURDETT (01)                       *       MAGISTRATE JUDGE DOUGLAS


                    GOVERNMENT’S REPLY TO DEFENDANT
                NICOLE E. BURDETT’S OPPOSITION TO NOTICES OF
           INTENT TO INTRODUCE INTRINSIC AND RULE 404(b) EVIDENCE


        NOW INTO COURT comes the United States of America, through the undersigned

Assistant United States Attorneys, who respectfully responds to the Defendant’s opposition as

follows.


   I.       The Medicaid Evidence and Testimony is Proper Other Acts Evidence

        In Beecham, the Fifth Circuit made it clear that “other crimes” evidence must be relevant

to an issue other than the defendant’s character and the evidence must possess probative value that

outweighs any danger of unfair prejudice, confusion, misleading the jury or needless presentation

of cumulative evidence. 582 F.2d 898, 911 (5th Cir. 1978) When the extrinsic evidence addresses

intent, the Fifth Circuit in Beecham made it clear that the relevancy “derives from the defendant’s

indulging himself in the same state of mind and the preparation of both the extrinsic and the
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charged offenses.” Id. The Fifth Circuit also explained that “[t]he relevancy of the evidence must

be assessed by comparing the state of mind required for the past and present.” United States v.

Scott, 48 F.3d 1389, 1396 (5th Cir. 1995). Such evidence “lessens the likelihood that the defendant

committed the charged offenses with innocent intent.” Similar acts or offenses also rebut the

possibility that the defendant committed the offense without the requisite knowledge, or that she

merely wondered onto the scene of the crime by accident.

       Burdett lied about her income in order to obtain Medicare benefits for herself and her

children. She committed healthcare fraud by doing so. 18 U.S.C. § 1347. The purpose of

introducing this other crimes evidence at trial is to show that Burdett had the intent to defraud

Medicaid and that it did not occur through a mistake or accident, just like her decision to defraud

the Internal Revenue Service. Burdett was initially determined eligible for Medicaid in July of

2006 because she was pregnant and had no income. Shortly after the birth of her daughter, her

coverage was terminated. She reapplied in 2010 and had continuous personal coverage until 2018.

Medicaid is renewed yearly. On a yearly basis, Burdett was required to report any change in

income. She made numerous false statements to Medicaid in order to maintain her Medicaid

eligibility. For example, in 2012, she reported that she had $500 of yearly income. In 2012, Burdett

owned her own home, which is listed in only her name, and the mortgage payment was more than

double that amount per month. In 2013, she was asked to report how much gross income she

earned and she stated that she made $500 a month, which is not accurate, since even her fraudulent

2013 tax return listed her income as greatly exceeding that amount. Burdett has repeatedly stated

that her defense at trial will be to blame Henry Timothy for any “errors” that occurred on her

return. The Medicaid evidence is important evidence because it shows that Burdett intentionally

and knowingly lied to a state government agency to obtain benefits, to which she was not entitled.



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Henry Timothy had no involvement with her application for or receipt of Medicaid benefits. Even

after receiving hundreds of thousands of dollars as a lawyer working at the Jason R. Williams Law

Firm, Burdett again reapplied in 2018 for Medicaid, which was eventually denied once the agency

learned of her true income. The unlawful receipt of Medicaid benefits over the course of eight

years did not occur by mistake or accident, and it clearly reflects the same mindset that Nicole

Burdett had when she defrauded the Internal Revenue Service.

         Although Beecham requires that the extrinsic evidence be assessed by comparing the state

of mind required for the extrinsic acts and the charged offense, it does not require that the same

burden of proof apply, as argued by defense counsel. 1 There is a distinction between a defendant’s

state of mind and burden of proof in a criminal prosecution. Burdett lied to Medicaid in order to

receive benefits to which she was not entitled and lied to the Internal Revenue Service so that she

could obtain tax refunds to which she was not entitled. This evidence is proper other crimes/acts

which, “lessens the likelihood that the Defendant committed the charged offense with innocent

intent.” Beecham at 913. Since her knowledge is at issue, similar knowledge on other occasions is

relevant and probative. There is also no requirement that the bad-acts evidence needs to be a

conviction or that the Government has to prove that it occurred beyond a reasonable doubt. The

Supreme Court has held that the Government need not prove by preponderance of the evidence

that the act occurred; instead, the Government just needs to prove sufficient evidence such that

“the jury can reasonably conclude that the other act occurred and the Defendant was the actor.”

Huddleston v. United States, 485 U.S. 681, 689 (1988). As stated above, the Government will have



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  Although defense counsel argues that Medicaid fraud has a lesser degree of criminal intent, she is wrong, as that
offense also carries a willfulness element just like tax violations. 18 U.S.C. § 1347. That statue specifically adds
willfully as an element of the offense but, just like in tax cases, “a person need not have actual knowledge of this
section or specific intent to commit a violation of this section.” Id. In other words, there is no burden to prove that the
Defendant is aware of the specific numerical statue just that they knowingly and willfully executed or attempted to
execute a scheme to defraud any healthcare benefit program, like Medicaid.

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a witness from Medicaid as well as documents sent in by the Defendant which contain her false

statements regarding her income.


   II.      Burdett’s 2018, 2019, and 2020 Returns are Proper 404b Evidence

         Burdett’s returns filed in 2018, 2019 and 2020 show a stark contrast to the returns prepared

and filed by Henry Timothy. The later returns are filed under the status of married filing jointly

with her husband and they list her address in Kenner, where they both reside. There are no Earned

Income Credits and her Schedule C deductions are greatly reduced. These returns are evidence of

a pattern of Burdett’s knowledge, willfulness and any lack of mistake on her part. Like Williams,

Burdett refuses to pay her taxes. The testimony at trial will be that she submitted fraudulent returns

to the Internal Revenue Service, so that she would not have to pay any taxes and so she could

receive refunds, to which she was not entitled. She repeated this same pattern with Medicaid. In

2019, although Burdett and her husband had income exceeding $600,000, she has failed to pay the

$134,789, she owes for that year. The Government seeks to introduce this evidence in order to

establish a pattern engaged in by Burdett to not pay taxes that she owes. Although she had ample

income to satisfy her Internal Revenue Service debt, she simply refuses to comply. These are also

her returns that she filed, under penalty of perjury; therefore, there is no undue prejudice.

         As stated in the Government’s response to Williams’ opposition to the 404(b) notice, there

is ample case law allowing the introduction of subsequent tax returns in order to show knowledge,

willfulness, and a pattern. In United States v. Luttrell, 612 F.2d 396 (8th Cir. 1980), the defendant

was convicted of failing to file tax returns for years 1974 and 1975. During the trial, the

government introduced evidence of his failure to timely file tax returns in three subsequent years.

Affirming the conviction, the Eighth Circuit, relying on Rule 404(b), found there was no abuse of

discretion in the district court’s admission of evidence regarding the defendant’s income tax filings

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for the years preceding and following the years in which his conviction was based. Id., citing

United States v. Thompson, 513 F.2d 577, 579 (8th Cir. 1975); United States v. Johnson, 386 F.2d

630, 631 (3d Cir. 1967); United States v. Stout, 601 F.2d 325, 329 (7th Cir. 1979). In United States

v. Farris, 517 F.2d 226 (7th Cir. 1975), the defendant was charged with failure to file returns for

the years 1969, 1970 and 1971. The defendant argued it was error to permit the government to

introduce evidence of his failure to file returns both prior and subsequent to the tax years charged.

The conviction was affirmed and the Seventh Circuit concluded that there was no error in admitting

evidence regarding years prior to and subsequent to the charged tax years. The Seventh Circuit

concluded, “[h]ere as in Ming the other offenses involved were identical to those charged and there

was no hiatus in regard to either the prior or subsequent offenses in relation to the indictment

offenses.” 2 Id. at 229. The Eleventh Circuit engaged in a similar analysis in United States v.

Sroufe, 579 F. App’x 974 (11th Cir. 2014), when it concluded no error occurred when the

government introduced similar acts that had occurred before and after the charged tax offenses.

See also United States v. McKee, 942 F.2d 477 (8th Cir. 1991).

           Burdett concedes that her tax returns prepared by Henry Timothy for the years 2011

through 2013 are proper intrinsic and/or 404(b) evidence so the Government need not address

those returns.

           In conclusion, the Government respectfully requests that the Court allow it to introduce

evidence and testimony concerning the Defendant receiving Medicaid benefits and that the Court

allow evidence and testimony concerning the Defendant’s subsequent tax returns filed in 2018,




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    United States v. Ming, 466 F.2d 1000 (7th Cir. 1972).

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2019 and 2020, as proper other acts evidence in order to prove her motive, intent, willfulness,

knowledge and absence of mistake.

                                           Respectfully submitted,

                                           ALEXANDER C. VAN HOOK
                                           Acting United States Attorney
                                           Western District of Louisiana

                                    BY:    /s/ Kelly P. Uebinger
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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Government’s Reply to Defendant Nicole E.
Burdett’s Opposition to Notices of Intent to Introduce Intrinsic and Rule 404(B) Evidence is being
filed with the Clerk of Court using the CMECF system, by which a copy will be provided to all
counsel of record.

       This the 26th day of October, 2021, at Lafayette, Louisiana.

                                             /s/ Kelly P. Uebinger
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